Case 2:02-cr-20165-BBD Document 594 Filed 08/09/05 Page 1 of 4 Page|D 807

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tN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRJCT OF TENNESSEE DATE¢.__Z'_‘L:-"~_°_Qé'_____

 

WESTERN DIVISION T,ME. 3533 gm
1NlTlALS: gaf
UNITED sTATEs oF AMERICA
v. CR No. 02-20165-D

GEOFFREY L. FELDMAN,

Defendant.

 

ORDER RELEASING BOND AND SEIZED ASSETS

 

Upon the oral motion made by counsel for Defendant Geoffrey L. Feldman and for good
cause shown the Court hereby finds that all bond previously posted by or on behalf of Geoffi‘ey L.
Feldman together with any assets previously seized, including but not limited to cash posted as bond,
accounts at HSBC and Merrill Lynch, the premises located at 7 East 14th Street, Apartment Number
lSL, New York, New York, represented by shares in the Victoria Owners Corp., and a 1987
Mercedes Benz automobile hereby should be and are released

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IT IS SO ORDERED this the § day of August, 2005.

RN[CE B. ONALD
UNITED STATES DISTRICT IUDGE

 

U.S. Attomey's Office
Western District of Tennessee

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Thfs document entered on the docket she

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This notice confirms a copy ofthe document docketed as number 594 in
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